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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


TWIN MASTER FUND, LTD., TWIN
OPPORTUNITIES FUND, LP, AND TWIN
SECURITIES, INC.,

            Plaintiffs,
                                                    Civ. A. No. 1:19-cv-03648
     v.
                                                   Hon. Matthew F. Kennelly
AKORN, INC., RAJAT RAI, DUANE A.
PORTWOOD, ALAN WEINSTEIN,
RONALD M. JOHNSON, AND BRIAN
TAMBI,

            Defendants.


MANIKAY MASTER FUND, LP AND
MANIKAY MERGER FUND, LP,

            Plaintiffs,
                                                    Civ. A. No. 1:19-cv-04651
     v.
                                                   Hon. Matthew F. Kennelly
AKORN, INC., RAJAT RAI, DUANE A.
PORTWOOD, ALAN WEINSTEIN,
RONALD M. JOHNSON, AND BRIAN
TAMBI,

            Defendants.



    DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR JOINT
    MOTIONS TO DISMISS THE TWIN MASTER FUND AND MANIKAY MASTER
      FUND COMPLAINTS PURSUANT TO FED. R. CIV. P. 12(b)(6) & 9(b)
                         AND 15 U.S.C. § 78u-4
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                                                          Dated: September 13, 2019
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                              TABLE OF ABBREVIATIONS

201_ 10-K          Akorn’s Annual Report on SEC Form 10-K for the fiscal year in question
201_ Q_ Earnings Transcript of Akorn’s Earnings Call for the quarter and year in question
Tr.
____, 201_ 8-K   Akorn’s Current Report on SEC Form 8-K filed on the date in question
Akorn or Company Akorn, Inc.
ANDA               Abbreviated new drug application
Complaints         Twin Complaint and Manikay Complaint
Defendants         Akorn, Rajat Rai, Duane A. Portwood, Alan Weinstein, Ronald Johnson and
                   Brian Tambi
Ex. _              Exhibit filed herewith

Exchange Act       The Securities Exchange Act of 1934, 15 U.S.C. § 78a et seq., as amended
FDA                U.S. Food and Drug Administration
Manikay ¶ _        Paragraph of the Manikay Complaint

Manikay Ex. _      Exhibit filed by Manikay in connection with the Manikay Complaint. See
                   Manikay Master Fund, LP v. Akorn, Inc., 19-cv-04651, ECF No. 1.1 (N.D.
                   Ill. July 10, 2019).

Manikay Complaint Complaint (Corrected), Manikay Master Fund, LP v. Akorn, Inc., 19-cv-
                  04651, ECF No. 5 (N.D. Ill. July 11, 2019)

Manikay            Manikay Master Fund, LP and Manikay Merger Fund, LP

MAE                Material adverse effect

Merger Agreement The agreement and plan of merger between Akorn, Fresenius Kabi AG,
                 Quercus Acquisition, Inc. and Fresenius Se & Co. KGaA, dated April 24,
                 2017

Merger             The acquisition of Akorn by Fresenius Kabi AG for $34/share, as
                   contemplated by the Merger Agreement

Ordinary Course    A covenant by Akorn to Fresenius (found in Section 5.01 of the Merger
Covenant           Agreement)

Plaintiffs         Twin and Manikay

PSLRA              Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4
SEC                U.S. Securities and Exchange Commission


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Section 10(b)    15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R.
                 § 240.10b-5
Section 18(a)    Exchange Act, 15 U.S.C. § 78r
Section 20(a)    Exchange Act, 15 U.S.C. § 78t(a)
Twin ¶ _         Paragraph of the Twin Complaint
Twin Ex. _       Exhibit filed by Twin in connection with the Twin Complaint. See Twin
                 Master Fund, Ltd. v. Akorn, Inc., 19-cv-03648, ECF No. 1-1 (N.D. Ill.
                 May 31, 2019)
Twin Complaint   Complaint, Twin Master Fund, Ltd. v. Akorn, Inc., 19-cv-03648, ECF No. 1
                 (N.D. Ill. May 31, 2019)
Twin             Twin Master Fund, Ltd., Twin Opportunities Fund, LP and Twin Securities,
                 Inc.




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                                PRELIMINARY STATEMENT

       Plaintiffs are merger arbitrageurs that made speculative bets on a proposed merger

between Akorn, Inc. (“Akorn” or the “Company”) and Fresenius Kabi AG (“Fresenius”) in 2017

and 2018. They lost those bets when Fresenius successfully terminated the merger on the basis

of the first material adverse effect (or “MAE”) ever found by the Delaware courts. Now, in an

effort to force Akorn to indemnify them for their betting losses, Plaintiffs seek to hold hostage a

carefully negotiated class-wide settlement agreement.

       That effort fails, as Plaintiffs have not stated a claim on which relief can be granted.

First, Plaintiffs’ Section 10(b), Section 18(a) and common law fraud claims fail because they

have not identified any actionable misstatements or omissions. Companies are under no

freestanding duty to disclose regulatory status, and none of the affirmative statements identified

by Plaintiffs was false when made. (See Argument Section I.) Second, Plaintiffs’ Section 10(b),

Section 18(a) and common law fraud claims fail because they do not plead loss causation.

Plaintiffs’ merger arbitrage losses were caused when the consummation of a valuable merger

with Fresenius—a merger that had supported Akorn’s share price throughout the time period

Plaintiffs made their purchases—became increasingly unlikely, culminating in the merger’s

successful termination. That termination was upheld by the Delaware courts on two independent

grounds: (i) a breach of Akorn’s regulatory compliance representations and warranties that rose

to the level of an MAE (the “Regulatory MAE”) and (ii) an unrelated financial decline that was

so severe as to constitute an MAE (the “Financial MAE”). Because the courts found Akorn had

experienced an independent Financial MAE, Fresenius’s termination would have been proper—

and Plaintiffs’ losses would have been sustained—regardless of Akorn’s regulatory status,

negating any inference of loss causation. (See Argument Section II.) Third, all of Manikay’s

and all but one of Twin’s Section 18(a) claims are time barred. Moreover, Plaintiffs have failed
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adequately to plead actual reliance, as required. (See Argument Section III.) Fourth, because

Plaintiffs have failed adequately to plead a primary violation, they cannot maintain a

Section 20(a) claim. (See Argument Section IV.) The Complaints must be dismissed.

                                STATEMENT OF ALLEGED FACTS

          Defendant Akorn is a specialty generic pharmaceuticals company organized under the

laws of Louisiana and headquartered in Lake Forest, Illinois. (Twin ¶ 25; Manikay ¶ 24.)

Akorn’s stock is publicly traded on NASDAQ under the trading symbol “AKRX”. (Twin ¶ 25;

Manikay ¶ 24.) Defendants Rai, Portwood, Weinstein, Johnson and Tambi are all current or

former officers or directors of Akorn. (Twin ¶¶ 26-30; Manikay ¶¶ 25-29.) Akorn’s total market

capitalization as of September 13, 2019 was approximately $460 million.

          Plaintiffs Twin and Manikay are large hedge funds—claiming in SEC filings to have

$284 million and $2.4 billion assets under management, respectively1—which allegedly began

purchasing Akorn securities after the merger with Fresenius became public. (Twin ¶¶ 21-24,

Exs. A-C; Manikay ¶¶ 21-23, Exs. A-B.) The funds’ SEC filings state that they pursue (among

other things) “merger arbitrage” investments, 2 which involve betting on the successful


    1
       Ex. 1, Twin Securities, Inc., Brochure at 5 (Form ADV Part 2A) (Mar. 29, 2019),
https://www.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?BRCHR_VRSN_ID=
566966 (hereinafter the “Twin Brochure”); Ex. 2, Manikay Partners, LLC, Brochure at 4 (Form ADV Part
2A ) (June 11, 2019), https://www.adviserinfo.sec.gov/IAPD/Content/Common/
crd_iapd_Brochure.aspx?BRCHR_VRSN_ID=584733 (hereinafter the “Manikay Brochure”).
     The Court may consider “documents attached to the complaint, documents that are critical to the
complaint and referred to in it, and information that is subject to proper judicial notice”. Phillips v.
Prudential Ins. Co. of Am., 714 F.3d 1017, 1019-20 (7th Cir. 2013); see also Pugh v. Tribune Co., 521
F.3d 686, 691 n.2 (7th Cir. 2008) (courts may take judicial notice of “documents in the public record,
including ... stock prices”); In re Brightpoint, Inc., 2001 WL 395752, at *15 n.6 (S.D. Ind. Mar. 29, 2001)
(acknowledging that a court may take judicial notice of “documents filed with the SEC”). Among other
documents, Plaintiffs have incorporated into the Complaints by reference the Chancery Court’s opinion
(Twin ¶¶ 119, 121, 142, 193; Manikay ¶¶ 118, 120, 141, 191), the Merger Agreement (Twin ¶¶ 106-07;
Manikay ¶¶ 105-106) and the documents containing the allegedly false statements.
     2
         See Ex. 1, Twin Brochure at 10; Ex. 2, Manikay Brochure at 4.

                                                     2
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completion of impending mergers, in an effort to obtain the difference (or “arbitrage spread”)

between a target company’s post-announcement market price and the price offered pursuant to

the merger. The more likely a deal is to close, the smaller the arbitrage spread; the riskier a deal

is, the larger the arbitrage spread becomes. 3

I.        THE REGULATORY FRAMEWORK IN THE PHARMACEUTICAL INDUSTRY

          Current Good Manufacturing Practices (“cGMP”) are FDA regulations that address

pharmaceutical manufacturing and product development, including the integrity of

manufacturing and testing data. (Twin ¶¶ 41-48; Manikay ¶¶ 40-47.) FDA monitors cGMP

compliance through routine inspections of manufacturing and development facilities. (Twin

¶ 49; Manikay ¶ 48.) If FDA observes objectionable practices, it may issue a “Form 483” at the

inspection’s conclusion. (Twin ¶ 50; Manikay ¶ 49.) A Form 483 “does not constitute a final

Agency determination”. 4 Once the facility responds to the Form 483 observations, FDA makes a

formal determination (Twin ¶¶ 51-53; Manikay ¶¶ 50-52) to classify the facility as “voluntary

action indicated” (or “VAI”), indicating the facility’s proposed corrective action plan is adequate

to address FDA’s observations; “official action indicated” (or “OAI”), indicating the corrective

action plan is inadequate; or “no action indicated” (or “NAI”), indicating no action is necessary. 5



      3
       Cf. Ex. 1, Twin Brochure at 12 (“Merger arbitrage transactions are inherently volatile.... If the
proposed transaction is not consummated or delayed, the value of such securities purchased may decline
significantly.”); Ex. 2, Manikay Brochure at 11 (“If the requisite elements of an arbitrage strategy are not
properly analyzed, or unexpected events or price movements intervene, losses can occur which can be
magnified to the extent a Fund is employing leverage.”).
      4
       City of Pontiac Gen. Emp. Ret. Sys. v. Stryker Corp., 865 F. Supp. 2d 811, 816 (W.D. Mich. 2012)
(quoting FDA Form 483 Frequently Asked Questions); FDA, Form 483 Frequently Asked Questions
(July 2, 2019), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
investigations/inspection-references/fda-form-483-frequently-asked-questions.
      5
       FDA, Inspections Database Frequently Asked Questions (July 2, 2018),
https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/inspection-
references/inspections-database-frequently-asked-questions.

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OAI status often results in a formal FDA “warning letter”. 6 (Twin ¶¶ 52-53; Manikay ¶¶ 51-52.)

           Companies aim to monitor and improve cGMP compliance through internal audits and by

hiring external consultants to assess their facilities. (Twin ¶¶ 86-88; Manikay ¶¶ 85-87.) In this

fashion, companies identify and remediate possible cGMP issues before they become the basis

for adverse FDA findings. As a matter of policy, FDA does not review self-audit results. 7

II.        AKORN’S MERGER WITH FRESENIUS

           A.      FDA’s 2016 Inspection of Akorn’s Decatur Facility

           In mid-2016, Akorn received a Form 483 following an FDA inspection at Akorn’s

manufacturing facility in Decatur, Illinois. (Twin ¶ 62; Manikay ¶ 61.) After implementing

corrective actions, Defendant Rai, Akorn’s former CEO, informed shareholders in

November 2016 that “there is no remediation per se that we have to do at our Decatur site”.

(Twin ¶ 159; Manikay ¶ 158.) A few weeks later, on December 12, Akorn issued a press release

announcing FDA had reinspected the Decatur facility without any observations. (Id.) Decatur’s

NAI classification by FDA was noted in Akorn’s March 1, 2017 earnings release and earnings

call. (Id.) However, the Company’s annual report on Form 10-K, issued the same day,

cautioned:

           “We are subject to extensive government regulations which if they change and or
           we are not in compliance with, could increase our costs, subject us to various
           obligations and fines, or prevent us from selling our products or operating our
           facilities.” (Twin ¶ 144; Manikay ¶ 143.)

This cautionary language was repeated in subsequent annual and quarterly reports. (Id.)


      6
          Akorn, Inc. v. Fresenius Kabi AG, 2018 WL 4719347, *7 (Del. Ch. Oct. 1, 2018) (“Fresenius”).
      7
      FDA, FDA Access to Results of Quality Assurance Program Audits and Inspections, Compliance
Policy Guide § 130.300 (June 2, 2007), https://www.fda.gov/regulatory-information/search-fda-guidance-
documents/cpg-sec-130300-fda-access-results-quality-assurance-program-audits-and-inspections
(hereinafter “FDA Comp. Policy Guide”) (“During routine inspections ... FDA will not review or copy
reports and records that result from audits and inspections of the written quality assurance program ....”).

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          B.     Fresenius Agrees to Acquire Akorn: AKRX surges 32% to $33.

          In late 2016, Akorn began negotiating with Fresenius, a German healthcare company,

about a potential Merger. (Twin ¶ 102; Manikay ¶ 101.) On April 7, 2017, news of the potential

Merger leaked to the market, 8 causing Akorn’s share price to climb from $25 to over $32. 9 Twin

first bought Akorn securities four days later. (Twin Exs. A-C.) The companies signed the

Merger Agreement on April 24, 2017, with a deal price of $34 per share—a 35% premium over

Akorn’s pre-leak market price. (Twin ¶¶ 104-05, 108; Manikay ¶¶ 103-04, 107.) The next day,

Akorn traded above $33 per share.

          The Merger Agreement contained various representations and warranties, each of which,

to the extent relevant here, was qualified by language providing that it could be breached only if

falsity of the representation would, “individually or in the aggregate, reasonably be expected to

have a Material Adverse Effect”. 10 Upon signing, Akorn filed the Merger Agreement as an

exhibit to SEC Form 8-K, which explained, among other things:

          “The representations and warranties of [Akorn] contained in the Merger
          Agreement have been made solely for the benefit of [Fresenius]. In addition, such
          representations and warranties (a) have been made only for purposes of the
          Merger Agreement, ... are subject to materiality qualifications contained in the
          Merger Agreement which may differ from what may be viewed as material by
          investors, (e) were made only as of the date of the Merger Agreement or such
          other date as is specified in the Merger Agreement and (f) have been included in
          the Merger Agreement for the purpose of allocating risk between [Akorn], on the
          one hand, and [Fresenius], on the other hand, rather than establishing matters as
          facts. Accordingly, the Merger Agreement is included with this filing only to
          provide investors with information regarding the terms of the Merger Agreement,
          and not to provide investors with any other factual information regarding the
          Company or its subsidiaries or business. Investors should not rely on the

    8
       Manuel Baigorri et al., Fresenius Says It’s in Talks to Buy Generic Drugmaker Akorn,
BLOOMBERG (Apr. 7, 2017, 1:04 PM), https://www.bloomberg.com/news/articles/2017-04-07/fresenius-
said-to-consider-bid-for-u-s-generic-drugmaker-akorn.
    9
        Ex. 3, AKRX Share Price. All subsequent references to Akorn’s share price rely on this exhibit.
    10
         Ex. 4, April 24, 2017 8-K, ex. 2.1 Merger Agreement § 3.18 (hereinafter “Merger Agreement”).

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          representations and warranties or any descriptions thereof as characterizations
          of the actual state of facts or condition of [Akorn] or any of its subsidiaries or
          business. Moreover, information concerning the subject matter of the
          representations and warranties may change after the date of the Merger
          Agreement, which subsequent information may or may not be fully reflected in
          the Company’s public disclosures.” 11

According to Plaintiffs, investment analysts at their respective funds “actually and justifiably

read [and] reviewed” this Form 8-K. (Twin ¶ 201; Manikay ¶ 199.)

          C.      Akorn’s Performance “F[a]ll[s] Off a Cliff”: AKRX stays above $30.

          Shortly after signing the Merger Agreement, Akorn’s financial performance “fell off a

cliff”. 12 The Delaware Chancery Court later found that Akorn suffered material year-over-year

declines in revenue, operating income and earnings per share:

                                                Year-Over-Year Change 13
                                   Q2 2017       Q3 2017       Q4 2017       Q1 2018
                       Revenue      (29%)         (29%)         (34%)         (27%)
                       Operating    (84%)          (89%)       (292%)        (134%)
                        Income
                          EPS       (96%)         (105%)       (300%)        (170%)

Despite these results, Akorn’s stock remained above $30/share—well above its trading price the

day before news of the Merger leaked—because investors had no reason to doubt that the Merger

would close at the promised $34 per share. Manikay first bought Akorn securities in August

2017 (Manikay Exs. A-B), shortly after Akorn’s disappointing Q2 2017 results were

announced. 14

          D.      Fresenius Announces the Deal Is In Trouble: AKRX falls to $18.

          Akorn’s financial performance outraged Fresenius, which began searching for an exit


    11
         Ex. 4, April 24, 2017 8-K at 3 (emphases added).
    12
         Fresenius, 2018 WL 4719347, at *1.
    13
         Id. at *54.
    14
         Id. at *21.

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from the Merger Agreement. 15 In November 2017, Fresenius informed Akorn that it intended to

launch an investigation into Akorn’s data integrity practices based on two fortuitously-timed

anonymous letters received by senior Fresenius executives. (Twin ¶ 111; Manikay ¶ 110.)

Akorn later commenced its own investigation. (Twin ¶¶ 119-20; Manikay ¶¶ 118-19.)

         On February 26, 2019, Fresenius announced to the market that it was investigating

Akorn’s data integrity compliance and that “[t]he consummation of the transaction may be

affected if the closing conditions under the merger agreement are not met”. (Twin ¶¶ 130, 208;

Manikay ¶¶ 129, 206.) Akorn released a statement disclosing its own investigation, and

explaining that its “investigation has not found any facts that would result in a material impact on

Akorn’s operations and the Company does not believe this investigation should affect the closing

of the transaction with Fresenius”. (Twin ¶ 131 (emphases added); Manikay ¶ 130.) On these

announcements—the first public sign of trouble with the Merger—Akorn’s share price tumbled

38% from $30.28 to $18.65. (Twin ¶ 209; Manikay ¶ 207.) Plaintiffs Twin and Manikay,

however, purchased more Akorn securities. (Twin Exs. A-C; Manikay Exs. A-B.)

         E.     Fresenius Terminates the Merger: AKRX falls to $13.

         On April 22, 2018, Fresenius purported to terminate the Merger Agreement, citing the

failure of “several closing conditions”. (Twin ¶¶ 132-33; Manikay ¶¶ 131-32.) Akorn’s share

price fell from $19.70 to $13.05. (Twin ¶ 212; Manikay ¶ 210.) The next day, Akorn sued to

compel Fresenius to close the Merger. (Twin ¶ 135; Manikay ¶ 134.) Looking to capitalize on a

much larger arbitrage spread, Twin purchased more Akorn securities. (Twin Exs. A-C.)

         The Delaware Chancery Court held a five-day trial in July of 2018. As the market



    15
       Id. at *21-23 (“[The Fresenius Group CEO] candidly admitted that at this point [September 2017],
he personally wanted to terminate the transaction.”).

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followed the litigation, Akorn’s share price fluctuated between roughly $11.50 and $19.50.

Twin continued to buy Akorn securities throughout. (Twin Exs. A-C.)

             F.      FDA Inspects Two Akorn Facilities

             In April/May 2018 and July/August 2018, FDA conducted inspections of Akorn’s

facilities in Decatur, Illinois and Somerset, New Jersey. 16 Both inspections resulted in

Forms 483. 17 Ultimately, on January 4, 2019, and June 13, 2019, FDA would issue two warning

letters stemming from the observations in these Forms 483. 18 (Twin ¶ 143; Manikay ¶ 142.)

             G.      The Chancery Court Finds the First Ever MAE: AKRX falls to $5.

             On October 1, 2018, the Chancery Court ruled that Fresenius validly terminated the

Merger on three independent grounds. First, the Chancery Court held that Fresenius could

refuse to close because Akorn’s declining financial performance constituted a Financial MAE—

the first in Delaware history. 19 Second, it concluded that Akorn’s representation as to regulatory

compliance was false at termination, giving rise to a Regulatory MAE—another first in Delaware

history. Third, it concluded that Akorn breached its Ordinary Course Covenant based on

Akorn’s efforts to comply with FDA regulations after signing. On the news of the Chancery

Court’s decision, Akorn’s stock fell from nearly $13 to $5.36. (Twin ¶ 217.)

III.         THE CURRENT LITIGATION

             On March 8, 2018, a purported Akorn shareholder filed a putative class action complaint

seeking to represent a class of Akorn’s shareholders that were damaged by alleged misstatements




       16
            Fresenius, 2018 WL 4719347, at *40-43.
       17
            Id.
       18
            Ex. 5, June 25, 2019 8-K, ex. 99.1.
       19
            Fresenius, 2018 WL 4719347, at *55, 62.

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concerning Akorn’s cGMP compliance. 20 That complaint was amended in September 2018 by

Court-appointed lead plaintiffs. On March 8, 2019, the parties disclosed in a letter to the Court

that they had scheduled a mediation for May 3, 2019. 21 Shortly thereafter, on May 31, Twin

filed suit. Manikay sued on July 10, 2019. On July 25, Defendants and lead plaintiffs reached

an agreement in principle to settle the class action. Five days later, both Plaintiffs informed the

Court that they intended to opt out of the settlement without even knowing its terms.

                                               ARGUMENT

          Plaintiffs assert claims under Sections 10(b) and 18(a) and for common law fraud, each

of which requires that Plaintiffs allege: (1) a false or misleading statement or omission of

material fact on which a reasonable investor would rely, and (2) loss causation. See Pension Tr.

Fund for Operating Eng’rs v. Kohl’s Corp., 895 F.3d 933, 936 (7th Cir. 2018) (Section 10(b));

15 U.S.C. § 78r (Section 18(a)); Connick v. Suzuki Motor Co., 675 N.E.2d 584, 591 (Ill. 1996)

(common law fraud under Illinois law). 22 Moreover, to prevail on their claims, Plaintiffs must

also demonstrate that Defendants acted with scienter—an intent to deceive, manipulate or

defraud, or with recklessness. See Kohl’s, 895 F.3d at 936 (Section 10(b) requires scienter);

15 U.S.C. § 78r (providing that lack of scienter is an affirmative defense to a Section 18(a)

claim); Lindner Dividend Fund, Inc. v. Ernst & Young, 880 F. Supp. 49, 59 (D. Mass. 1995)




    20
         In re Akorn, Inc. Data Integrity Sec. Litig., No. 18-cv-01713, ECF No. 1 (N.D. Ill. Mar. 8, 2018).
    21
         Id., ECF No. 88.
    22
        Plaintiffs do not identify the jurisdiction under whose laws they bring their common law fraud
claims. The laws of New York or Illinois most likely govern these claims. (See Twin ¶¶ 21-23, 25;
Manikay ¶¶ 21-22, 24.) Because “[a]n actual conflict does not exist between the laws of New York and
Illinois regarding the elements for common law fraud”, Tiberius Capital, LLC v. PetroSearch Energy
Corp., 2011 WL 1334839, at *8 (S.D.N.Y. Mar. 31, 2011), Defendants assume for purposes of this
motion only that Illinois law applies to Plaintiffs’ state law claim. See Townsend v. Sears, Roebuck &
Co., 879 N.E.2d 893, 898 (Ill. 2007).

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(dismissing a Section 18(a) claim for failure to allege any “impropriety” (internal quotation

marks omitted)); Connick, 675 N.E.2d at 591 (Illinois common law fraud requires scienter).

           Because Plaintiffs’ claims set forth “averments of fraud”, they must meet the heightened

pleading standard of Rule 9(b). See Borsellino v. Goldman Sachs Grp., Inc., 477 F.3d 502, 507

(7th Cir. 2007) (“Rule 9(b) applies to ‘averments of fraud’, not claims of fraud”). 23 Plaintiffs

must “specify each statement alleged to have been misleading” and state with particularity the

“reason or reasons why the statement is misleading”. Cornielsen v. Infinium Capital Mgmt.,

LLC, 916 F.3d 589, 599 (7th Cir. 2019) (internal quotation marks omitted); see also Fed. R. Civ.

P. 9(b). Plaintiffs’ federal claims are also subject to the heightened pleading standard of the

PSLRA, which requires that Plaintiffs’ allegations be set forth with particularity and, where

applicable, give rise to a “strong inference” of scienter. Tellabs, Inc. v. Makor Issues & Rights,

Ltd., 551 U.S. 308, 318, 322-23 (2007); see also Cornielsen, 916 F.3d at 598, 601-02 (applying

heightened standard because “fraud is frequently charged irresponsibly by people who have

suffered a loss and want to find someone to blame for it” (internal quotation marks omitted)).

I.         PLAINTIFFS’ FEDERAL AND COMMON LAW FRAUD CLAIMS FAIL BECAUSE
           PLAINTIFFS DO NOT PLEAD ACTIONABLE MISSTATEMENTS OR OMISSIONS.

           To plead falsity, a complaint must state with particularity each statement alleged to have

been misleading, the reason(s) why the statement is misleading and all facts forming plaintiff’s

belief. 15 U.S.C. § 78u-4(b)(1)(B); In re Midway Games, Inc. Sec. Litig., 332 F. Supp. 2d 1152,

1162-63 (N.D. Ill. 2004). A violation premised on misstatements cannot occur unless an alleged

material misstatement was “false when made”. Conlee v. WMS Indus., Inc., 2013 WL 1767648,



      23
      See also Oakland Cty. Emps.’ Ret. Sys. v. Massaro, 736 F. Supp. 2d 1181, 1185 (N.D. Ill. 2010)
(same); Special Situations Fund III QP, L.P. v. Deloitte Touche Tohmatsu CPA, Ltd., 33 F. Supp. 3d 401,
440-41 (S.D.N.Y. 2014) (applying Rule 9(b) to a Section 18(a) claim sounding in fraud).

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at *6 (N.D. Ill. Apr. 24, 2013); DiLeo v. Ernst & Young, 901 F.2d 624, 628 (7th Cir. 1990)

(stating that plaintiffs may not plead “fraud by hindsight” (internal quotation marks omitted)).

       Courts have dismissed securities fraud claims that are based on a failure to disclose

regulatory non-compliance. In Anderson v. Abbott Labs., 140 F. Supp. 2d 894 (N.D. Ill. 2001),

Abbott made eight public statements during the alleged class period (including 10-Qs, earnings

releases, merger announcements and a proxy statement) that failed to disclose “ongoing

compliance issues with the FDA”—including a warning letter and a separate Form 483. Id.

at 900-01. When the issues were ultimately disclosed, Abbott maintained its “belie[f] that it

[wa]s in substantial compliance with [FDA] regulations”. Id. (internal quotation marks omitted).

Five weeks later, Abbott entered into a consent decree with FDA, agreeing to a $100 million fine

and the withdrawal of 125 products from the market. Id. at 901. The District Court dismissed a

Section 10(b) complaint based on Abbott’s omissions, finding its public statements were not

misleading, the omitted information was not material and the defendants had failed to establish a

strong inference of scienter. Id. at 902-11. The Seventh Circuit affirmed, holding: “What sinks

plaintiffs’ position is their inability to identify any false statement—or for that matter any

truthful statement made misleading by the omission of news about the FDA’s demands”.

Gallagher v. Abbott Labs., 269 F.3d 806, 808 (7th Cir. 2001) (Easterbrook, J.).

       Stryker, 865 F. Supp. 2d 811, is similar. In that case, after years of patient complaints,

medical device manufacturer Stryker received three FDA warning letters at separate facilities,

forcing it to undertake an expensive product recall and adopt a global quality improvement plan

costing $50 million per year for three years. Id. at 816-18. The court dismissed a Section 10(b)

complaint, finding Stryker had made no materially false or misleading statements, plaintiffs had

not pled a strong inference of scienter and, in light of a nationwide recession, plaintiffs likely had



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not adequately pled loss causation. Id. at 823-33, 835.

         Several important principles emerge from these cases.

         First, there is no duty to disclose regulatory non-compliance. As Judge Easterbrook

emphasized in Gallagher: “We do not have a system of continuous disclosure. Instead firms are

entitled to keep silent (about good news as well as bad news) unless positive law creates a duty

to disclose.” 269 F.3d at 808. “Rule 10b-5 condemns only fraud, and a corporation does not

commit fraud by standing on its rights under a periodic-disclosure system.” Id. at 809-10. 24

         Second, while a duty to disclose “can arise ... if omitting particular facts makes some

existing statement misleading”, “[m]erely mentioning a topic ... does not require the company to

disclose every tangentially related fact that might interest investors”. Anderson, 140 F. Supp. 2d

at 903. For example, undisclosed regulatory challenges generally do not make statements

“focus[ed] on general corporate performance, progress on specific products, ... new acquisitions

and the pharmaceutical business” fraudulent. Id. at 907. Moreover, prior or contemporaneous

disclosures of the same or similar information will foreclose a material omission claim.

See Gaines v. Guidant Corp., 2004 WL 2538374, at *15 (S.D. Ind. Nov. 8, 2004).

         Third, only the regulatory agency can make a formal determination of regulatory status.

A failure to disclose internal reports of non-compliance or non-final agency findings is not

securities fraud. See Stryker, 865 F. Supp. at 825 (finding “no duty to disclose the Cork Form

483, nor did it render the compliance statement false or misleading.... FDA does not consider

observations contained in a Form 483 as a final agency determination of noncompliance. The


    24
      “[A]bsent a duty to speak”, it is “axiomatic ... that an alleged omission cannot be fraudulent”. See
Rosenbaum v. White, 692 F.3d 593, 605 (7th Cir. 2012) (internal quotation marks omitted); Basic Inc. v.
Levinson, 485 U.S. 224, 239 n.17 (1988) (“Silence, absent a duty to disclose, is not misleading under
Rule 10b-5.”); see also Di Rito v. Metropolitan Life Ins. Co., 2018 WL 6769317, at *4, 6 (Ill. App. Ct.
Dec. 24, 2018) (substantially the same for common law fraud under Illinois law).

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Form 483 thus was not the final word on whether the Cork facility was in compliance with FDA

regulations.”); id. (“‘continual’ patient complaints” did not render statements misleading). 25

         Fourth, there is no duty to publicly predict formal regulatory findings that have not yet

occurred. See Gallagher, 269 F.3d at 810 (“The 10-K report was filed on March 9, 1999, and the

FDA’s letter is dated March 17, eight days later. Unless Abbott had a time machine, it could not

have described on March 9 a letter that had yet to be written.”); Anderson, 140 F. Supp. 2d at

904 (“Plaintiffs seem to argue that because Abbott entered the consent decree on November 2,

defendants must have known that they would face sanctions. But temporal proximity alone,

between the positive statement and the negative event, is insufficient.”).

         Fifth, an agency finding of non-compliance does not give rise to a duty to correct earlier

public statements unless those statements were false when made. See Gallagher, 269 F.3d at 810

(“[P]laintiffs insist that Abbott had a ‘duty to correct’ the 10-K report. Yet a statement may be

‘corrected’ only if it was incorrect when made, and nothing said as of March 9 was incorrect.”).

         Sixth, in most instances, statements of regulatory compliance are opinion statements,

which are not actionable unless they were either (i) knowingly false when made or “the

supporting facts supplied were untrue”; or (ii) the statement omitted information “whose

omission” made the statement “misleading to a reasonable” investor. Omnicare, Inc. v. Laborers

Dist. Council Const. Indus. Pension Fund, 135 S. Ct. 1318, 1327, 1332 (2015). 26 Establishing

liability for statements of opinion is “no small task” as “[r]easonable investors understand that



    25
       See also In re Genzyme Corp. Sec. Litig., 754 F.3d 31, 42 (1st Cir. 2014) (noting that Forms 483
contain advisory language clarifying that “the circumstances noted therein are merely observational in
nature, and do not represent the FDA’s final word”).
    26
       See also Oklahoma Firefighters Pension & Ret. Sys. v. Xerox Corp., 300 F. Supp. 3d 551, 566-67
(S.D.N.Y. 2018); Petrakopoulou v. DHR Int’l, Inc., 590 F. Supp. 2d 1013, 1019 (N.D. Ill. 2008)
(substantially the same for common law fraud under Illinois law).

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opinions sometimes rest on a weighing of competing facts” and do “not expect that every fact

known to an issuer supports its opinion”. Omnicare, 135 S. Ct. at 1329, 1332. The securities

laws do not “impose liability merely because an issuer failed to disclose information that ran

counter to [the] opinion expressed”. Tongue v. Sanofi, 816 F.3d 199, 212 (2d Cir. 2016) (opinion

statement inactionable even though “Plaintiffs would have been interested in knowing about the

FDA feedback, and perhaps would have acted otherwise had the feedback been disclosed”).

“The core inquiry is whether the omitted facts would ‘conflict with what a reasonable investor

would take from the statement itself.’” Id. at 210; Xerox, 300 F. Supp. 3d at 567 (same).

          Seventh, forward-looking predictions as to a regulatory problem’s impact are not

actionable if either (i) “the statement is identified as [] forward-looking ... and is accompanied by

meaningful cautionary statements”; 27 or (ii) the statement was made without actual knowledge

that it was false or misleading. 15 U.S.C. § 78u5(c)(1)(A)-(B). 28

          Eighth, the securities laws do not obligate companies to confess to regulatory findings

that it contests in good faith. A defendant’s “maintenance of its innocence is not fraud. SEC

rules do not create a duty to confess contested charges.” Anderson, 140 F. Supp. 2d at 906.

          “A [defendant] should not be placed in a position of being forced to either admit
          liability, while he or she disputes it, or violate the securities law by failing to
          disclose the alleged and disputed violation. As long as the [defendant] discloses
          to the ... shareholders that a good faith dispute exists as to an alleged violation of
          law, a shareholder has sufficient information to make a rational and informed


     27
        Language is “meaningful” and “cautionary” if it notifies investors of the investment’s danger,
permitting her to make an informed decision consistent with her own risk preferences. Stavros v. Exelon
Corp., 266 F. Supp. 2d 833, 842-43 (N.D. Ill. 2003); Brasher v. Broadwind Energy, Inc., 2012 WL
1357699, at *18 (N.D. Ill. Apr. 19, 2012). Cautionary language need not list all facts that might affect
results, nor must it “explicitly refer to the risk that ultimately caused the projection to differ from actual
results; it is sufficient that the language warned of risks ‘of a significance similar to that actually
realized.’” Stavros, 266 F. Supp. 2d at 843 (internal citation omitted).
     28
      Stavros, 266 F. Supp. 2d at 842-43; see also Prime Leasing, Inc. v. Kendig, 773 N.E.2d 84, 92 (Ill.
App. Ct. 2002) (substantially the same for common law fraud under Illinois law).

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         decision.” Id. at 907 (quoting City Capital Assoc. v. Interco, Inc., 696 F. Supp.
         1551 (D. Del. 1988)).

         Ninth, general statements of corporate optimism are not transformed into securities fraud

merely because the speaker failed to disclose regulatory challenges. Stryker, 865 F. Supp. 2d at

822 (“[S]tatements that constitute immaterial puffery are not actionable because such loosely

optimistic statements [are] insufficiently specific for a reasonable investor to find them important

to the total mix of information available.” (internal quotation marks and citation omitted)). 29

Thus, statements that a “[c]ompany remains committed to ... manufacturing ... medical products

that are safe and effective and that comply with applicable laws and regulations, including those

administered by the FDA” are puffery. Id. at 829 (internal quotation marks omitted).

         These principles make clear that Plaintiffs’ allegations of falsity fail as a matter of law.

Plaintiffs challenge six categories of statements: (i) statements concerning Akorn’s compliance

with FDA regulations; (ii) statements concerning the regulatory status of Akorn facilities;

(iii) statements concerning Akorn’s ANDA pipeline; (iv) the Ordinary Course Covenant in the

Fresenius Merger Agreement; (v) statements concerning Akorn’s data integrity investigation;

and (vi) statements concerning Akorn’s disclosure controls. As set forth below, each fails.

         A.     Statements Concerning Compliance with FDA Regulations

         Plaintiffs allege “Defendants [m]isrepresent[ed] Akorn’s [c]ompliance with FDA

[r]egulations”, challenging four sets of alleged misstatements. (Twin at p. 37; Manikay at p. 36.)


    29
       Statements of corporate optimism (or “puffery”) are not actionable because they are “so vague, so
lacking in specificity, or so clearly constituting the opinions of the speaker, that no reasonable investor
could find them important to the total mix of information available” and are therefore “immaterial as a
matter of law”. Teamsters Affiliates Pension Plan v. Walgreen Co., 2010 WL 3894149, at *4 (N.D. Ill.
Sept. 29, 2010) (internal quotation marks omitted); Plumbers & Pipefitters Local Union No. 630 Pension-
Annuity Tr. Fund v. Allscripts-Misys Healthcare Sols., Inc., 778 F. Supp. 2d 858, 872 (N.D. Ill. 2011)
(finding such “rosy affirmation[s]” inactionable (internal quotation marks omitted)); see also Donovan v.
ABC-NACO Inc., 2002 WL 1553259, at *7 (N.D. Ill. July 15, 2002) (substantially the same for common
law fraud under Illinois law).

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Each fails because the challenged statements were accurate when made, Defendants are not

required to accuse themselves of non-compliance or predict future FDA determinations and

many of the challenged statements are inactionable forward-looking statements or puffery.

                  1.     The risk disclosures were accurate and implied nothing about whether the
                         risks had materialized.

          Certain of Akorn’s quarterly and annual reports contain the following risk disclosure:

          “‘We are subject to extensive government regulations which if ... we are not in
          compliance with, could increase our costs, subject us to various obligations and
          fines, or prevent us from selling our products or operating our facilities.’”
          (Twin ¶ 144; Manikay ¶ 143.)

This statement was not misleading for two reasons.

          First, no reasonable investor would interpret the risk disclosure as an assertion of full

regulatory compliance. As in Anderson, the risk disclosure was a “statement of what the

government regulates and what sanctions it can impose. All this information could be gleaned

from the C.F.R. It says nothing company-specific, and no reasonable investor would infer

anything about the state of [Akorn’s] FDA compliance.” Anderson, 140 F. Supp. 2d at 905.

          Second, even if the statements did imply compliance, they were not misleading because

Akorn was in compliance when they were made. Plaintiffs do not identify any final FDA finding

of noncompliance during the relevant period; and Defendants were under no obligation in 2016-

18 to publicly predict FDA warning letters that were not received until 2019. See Gallagher, 269

F.3d at 810 (no duty to predict warning letter received after a 10-K containing a risk

disclosure). 30




     30
      See also Stryker, 865 F. Supp. 2d at 825 (even a Form 483 is insufficient to render risk disclosures
misleading because “FDA does not consider observations contained in a Form 483 as a final agency
determination of noncompliance”); see also Anderson, 140 F. Supp. 2d at 902 (warnings from FDA are
not material absent some indication that FDA intends to take material action).

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                 2.      Item 303 neither provides a private cause of action nor requires companies
                         to engage in self-flagellation.

          Plaintiffs next allege that certain of Akorn’s SEC filings were “misleading because they

failed to disclose the Company’s regulatory noncompliance in violation of Item 303”. (Twin

¶ 146; Manikay ¶ 145.) Item 303 requires issuers to, among other things, “[d]escribe any known

trends or uncertainties that have had or that the registrant reasonably expects will have a material

favorable or unfavorable impact on net sales or revenues or income from continuing operations.”

17 C.F.R. § 229.303(a)(3)(ii). Plaintiffs’ argument fails for three reasons.

          First, Item 303 does not create an independent right of action if the elements of a

Section 10(b) claim have not otherwise been met. See Anderson, 140 F. Supp. 2d at 909

(“Item 303(a) does not give rise to private action under Rule 10b .... Absent some other basis for

the duty, plaintiffs cannot rely solely on Item 303(a).”). 31

          Second, even if Item 303 were actionable, Plaintiffs have not pled with particularity any

“known trends ... that [Akorn] reasonably expect[ed] w[ould] have a material ... unfavorable

impact” on its sales, revenues or income. 17 C.F.R. § 229.303(a)(3)(ii) (emphases added).

While Plaintiffs point to findings of noncompliance in Akorn’s internal audit reports, they have

pleaded no facts showing that Akorn expected FDA to take enforcement action with respect to

those findings or expected the impact on sales, revenues or income to be material. There was no

“known trend” to disclose. 32 See Gallagher, 269 F.3d at 807, 810 (FDA correspondence about


     31
        See also Washtenaw Cty. Emps.’ Ret. Sys. v. Walgreen Co., 2016 WL 5720375, at *14 (N.D. Ill.
Sept. 30, 2016) (same); Brasher, 2012 WL 1357699, at *13 (same); In re NVIDIA Corp. Sec. Litig.,
768 F.3d 1046, 1054-55 (9th Cir. 2014) (same) (citing Oran v. Stafford, 226 F.3d 275, 288 (3d Cir. 2000)
(Alito, J.)).
     32
       Plaintiffs’ allegations that Mark Silverberg, Akorn’s then-EVP Global Quality, knowingly
submitted fraudulent data to FDA do not change this fact. (E.g. Twin ¶ 145; Manikay ¶ 144.) Akorn is
deemed to have “the state of mind of the individual corporate official or officials who make or issue the
statement (or order or approve it or its making or issuance, or who furnish information or language for
inclusion therein, or the like) rather than generally ... the collective knowledge of all the corporation’s
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regulatory violations immaterial until FDA threatened “severe consequences”).

         Third, even if Item 303 were privately enforceable, and even if Plaintiffs had alleged

known trends, Defendants had no duty to accuse themselves of uncharged wrongdoing in public

filings. Plaintiffs assert that Defendants “should have disclosed that Akorn was engaged in

rampant and widespread noncompliance with FDA regulations across all of its facilities”. (Twin

¶ 146; Manikay ¶ 145.) But it is well-established that “federal securities laws do not require a

company to accuse itself of wrongdoing”. In re Volkswagen “Clean Diesel” Mktg., Sales

Practices & Prods. Liab. Litig., 2017 WL 2798525, at *5 (N.D. Cal. June 28, 2017) (quoting In

re Citigroup, Inc. Sec. Litig., 330 F. Supp. 2d 367, 377 (S.D.N.Y. 2004) (collecting cases)). 33

“Defendants’ culpability ... does not become a fact that must be disclosed until it is at least

charged ... or proven”. In re Teledyne Def. Contracting Deriv. Litig., 849 F. Supp. 1369, 1383

(C.D. Cal. 1993). 34 Moreover, FDA does not review internal audits: “The intent of the policy is

to encourage firms to conduct quality assurance program audits and inspections that are candid

and meaningful.” 35 This policy would be undermined, and robust internal monitoring chilled, if

internal audit findings triggered public disclosure obligations and possible securities liability.




officers”. Makor Issues & Rights, Ltd. v. Tellabs Inc., 513 F.3d 702, 708 (7th Cir. 2008) (internal
quotation marks and citation omitted); Pugh, 521 F.3d at 697 (same). Because Plaintiffs have not alleged
that Silverberg (i) made or issued any of the allegedly false statements or (ii) ordered, approved or
furnished information for inclusion in any of those statements, his knowledge is not attributable to Akorn.
    33
       See also Anderson, 140 F. Supp. 2d 894 at 906 (“SEC rules do not create a duty to confess
contested charges.”).
    34
       See also Volkswagen, 2017 WL 2798525, at *5; Acito v. IMCERA Grp., Inc., 47 F.3d 47
(2d Cir. 1995) (no duty to disclose possible future inspection by regulator); Ballan v. Wilfred Am. Educ.
Corp., 720 F. Supp. 241, 248 (E.D.N.Y. 1989) (finding “‘imminent’” indictment and resulting financial
disaster were not “facts” requiring disclosure while investigation was pending).
    35
         FDA Comp. Policy Guide § 130.300.

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                  3.      The regulatory representation was an allocation of risk between private
                          parties, not a statement of fact, and was true when made.

          Plaintiffs’ challenge to the regulatory compliance representation and warranty in the

Merger Agreement (Twin ¶¶ 147-150; Manikay ¶¶ 146-49) also fails.

          First, investors were told explicitly that these representations were negotiated risk

allocations, not statements of fact. Akorn disclosed that: (1) the representations and warranties

were “solely for the benefit of [Fresenius]” and “only for purposes of the Merger Agreement”;

(2) they were “subject to materiality qualifications ... which may differ from what may be viewed

as material by investors”; (3) they were “included in the Merger Agreement for the purpose of

allocating risk ... rather than establishing matters as facts”; (4) they were not made “to provide

investors with any ... factual information”; (5) “information concerning the subject matter of the

representations and warranties may change ... [and] may or may not be fully reflected in

[Akorn’s] public disclosures”; and (6) “[i]nvestors should not rely on the representations and

warranties ... as characterizations of the actual state of facts or condition of [Akorn]”. 36

Rule 10b-5 condemns only untrue or misleading “statement[s] of ... material fact”. 17 C.F.R.

§ 240.10b-5(b). Given these warnings, no reasonable investor could interpret the Merger

Agreement’s representations and warranties as statements of material fact. 37

          Second, Plaintiffs have failed to allege that the Regulatory Representation was false when

made—at signing. See Conlee, 2013 WL 1767648, at *6. To make out this claim, Plaintiffs

must plead both that Akorn was out of compliance at signing and that Akorn’s non-compliance


    36
         Ex. 4, April 24, 2017 8-K at 3.
    37
       See In re Plains All American Pipeline, L.P. Sec. Litig., 307 F. Supp. 3d 583, 638 (S.D. Tex. 2018)
(“The context of the statements indicates that they were made as contractual representations to a
counterparty, not as statements of certainty made to the investing public. Because Statements 15 and 16
were made in the context of representations and warranties in underwriting agreements, they are not
actionable.”).

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was so dire that, as of signing, it would reasonably be expected to cause a Regulatory MAE. 38

They have not and cannot make that allegation: the Chancery Court observed that “many of the

events giving rise to the Regulatory MAE had not yet occurred at the time of signing”. 39

                 4.      The policy statements on Akorn’s website were inactionable puffery.

         Plaintiffs allege that certain statements on Akorn’s website—including policy statements,

mission statements and statements relating to regulatory compliance—were misleading. (See

Twin ¶¶ 151-52; Manikay ¶¶ 150-51.) Plaintiffs challenge, for example, statements concerning

Akorn’s “‘commitment to lawful conduct of its business’” (Twin ¶ 151; Manikay ¶ 150), and to

having “the right people doing the right things, the first time, every time” (Twin ¶ 152; Manikay

¶ 151). Such “general declarations about the importance of acting lawfully and with integrity”

are inactionable puffery. Singh v. Cigna Corp., 918 F.3d 57, 63 (2d Cir. 2019). 40

         B.      Statements Concerning Manufacturing Facilities

         Plaintiffs allege Defendants discussed “FDA’s inspection and approval of manufacturing

facilities” and “stated that Akorn’s ‘[r]esearch and development expertise’ and its

‘manufacturing expertise’ were two of its five competitive strengths”. (Twin ¶¶ 156-57;

Manikay ¶¶ 155-56.) These were either indisputably true when made or inactionable puffery.

                 1.      Defendants accurately disclosed the results of FDA facility inspections
                         without touting Akorn’s quality prowess.

         Akorn’s 2016 10-K disclosed that “‘all of our FDA approved facilities ... ultimately

received satisfactory status from the FDA’”. (Twin ¶ 154; Manikay ¶ 153.) Similarly, its 2017




    38
         Ex. 4, Merger Agreement § 3.18.
    39
         Fresenius, 2018 WL 4719347, at *81.
    40
        See also Silverman v. Motorola, Inc., 772 F. Supp. 2d 923, 932 (N.D. Ill. 2011) (“[A] code of
ethics is inherently aspirational.” (internal quotation marks omitted)).

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10-K disclosed that “‘all of our FDA approved facilities ... are in good standing with the FDA’”.

(Twin ¶ 155; Manikay ¶ 154.) These statements were truthful. FDA did inspect certain Akorn

facilities in those years and found them compliant. Plaintiffs do not allege otherwise.

         No reasonable investor would interpret the statements to imply anything further, as

Defendants did not promote or otherwise emphasize Akorn’s quality compliance. Defendants

“did not claim to have any particular regulatory prowess”, “did not represent [Akorn] as having

an abnormally strong compliance record”, did not “specifically attribute [Akorn’s] past success

to outstanding quality control”, “did not assert that [Akorn] was in full compliance with all

regulations”, and did not claim “that [Akorn] had no outstanding regulatory issues”. Anderson,

140 F. Supp. 2d at 904, 906. They “merely reported specific FDA actions, i.e., approvals of

particular [facilities]”. Id. at 906. That is not misleading. In fact, Akorn repeatedly warned that

there was a risk that future inspections might have different results. (See Argument

Section I.A.1.)

                  2.    Statements concerning Akorn’s competitive strengths were the type of
                        generalized, positive remarks that courts routinely classify as puffery.

         According to Plaintiffs, Akorn’s 2016 and 2017 10-Ks disclosed that “Akorn’s ‘[R&D]

expertise’ and its ‘manufacturing expertise’ were two of its five competitive strengths”. (Twin

¶ 157; Manikay ¶ 156.) These are textbook examples of puffery. 41 They are also protected

opinion statements, which are not actionable unless knowingly false when made, see Carvelli v.

Ocwen Fin. Corp., 2019 WL 3819305, at *9 (11th Cir. Aug. 15, 2019) (dismissing claims related


    41
       See Gregory v. ProNAi Therapeutics Inc., 297 F. Supp. 3d 372, 399 (S.D.N.Y. 2018) (finding
immaterial statements that the defendant’s “‘knowledge, experience, and scientific resources provide [the
defendant] with competitive advantages’”); see also Southland Sec. Corp. v. INSpire Ins. Sols., Inc.,
365 F.3d 353, 372 (5th Cir. 2004) (“[G]eneralized, positive statements about the company’s competitive
strengths ... are not actionable because they are immaterial.”); Magruder v. Halliburton Co., 359 F. Supp.
3d 452, 461 (N.D. Tex. 2018) (same); Anderson, 140 F. Supp. 2d at 905 (“Vague statements about
industry leadership and unquantified growth are classic puffery”).

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to statements of opinion concerning a company’s “competitive strengths” because the complaint

failed to allege the speaker “didn’t actually believe” the statements), or omit information making

them misleading in context, Omnicare, 135 S. Ct. at 1327-29. Plaintiffs have not pleaded any

facts suggesting that Akorn did not subjectively believe its R&D and manufacturing expertise to

be competitive strengths or facts that were omitted from the statements that rendered them

misleading in context. See Tongue, 816 F.3d at 212.

                  3.      Statements concerning an FDA re-inspection of Decatur were true and
                          made before the facts Plaintiffs allege caused them to be misleading.

          Plaintiffs challenge Akorn’s November 2016 statements that, after receipt of the earlier

Form 483, “there is no remediation per se that we have to do at our Decatur site” and “there’s

nothing really more for us to do other than just operate under cGMP type standards”; its

December 2016 announcement that FDA had re-inspected Decatur “with no Form 483

observations”; and its March 2017 statement that Decatur had received NAI status after FDA’s

re-inspection. (Twin ¶ 159; Manikay ¶ 158.) None of these statements was misleading.

          Plaintiffs quote the November statements out of context. The statements came in

response to analyst questions concerning Decatur’s readiness for re-inspection following the

Form 483 FDA issued in June 2016. 42 Plaintiffs do not dispute that, within weeks after the

statements were made, FDA in fact did re-inspect Decatur and determined that it was in fact

compliant. (Twin ¶ 159(c); Manikay ¶ 158(c).) Nor do they allege that Akorn was required to

take additional, undisclosed remediation steps. The statements were truthful when made.

          Plaintiffs assert that the November statements were misleading because external

consultant “Cerulean had conducted an inspection of Decatur and provided Akorn with a report


    42
         See Ex. 6, 2016 Q3 Earnings Tr. at 8-10; Ex. 7, Piper Jaffray Healthcare Conf. Tr. at 3 (Nov. 29,
2016).

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that disclosed [several] ... data-integrity nonconformities”. (Twin ¶ 160; Manikay ¶ 159.) But

Akorn did not receive Cerulean’s report until December 2016 (Twin ¶ 88; Manikay ¶ 87)—after

the November 2016 statements. 43 In any event, FDA—which had just found Decatur NAI (Twin

¶ 159; Manikay ¶ 158)—has the final say on Akorn’s compliance, not a consultant.

         C.      Statements About Akorn’s ANDA Pipeline

         Plaintiffs assert that Defendants “sp[oke] about Akorn’s pipeline and assure[d] investors

that new ANDA approvals were coming down the pike”. (Twin ¶ 165; Manikay ¶ 164.) But to

the extent that any of the alleged statements were statements of fact, they were accurate on their

face, and Plaintiffs do not argue otherwise. For example:

         •    “As of the end of 2016, our pending ANDA count stood at 92 filings”. (Twin ¶ 161;
              Manikay ¶ 160.)

         •    “[Akorn has over] 75 additional ANDAs in various stages of development”. (Twin
              ¶ 162; Manikay ¶ 161.)

         •    “[Akorn] has received approval from [FDA] ... for its [ANDA] ... for Mycophenolate
              Mofetil for Injection, USP, 500 mg/vial”. (Twin ¶ 163; Manikay ¶ 162.)

Plaintiff does not allege facts indicating that the cited numbers of ANDAs were wrong or that

Akorn did not, in fact, receive approval for Mycophenolate Mofetil. Those statements were true.

         Moreover, many of the alleged statements are forward-looking statements protected by

the statutory safe harbor of the PSLRA and the bespeaks caution doctrine. For example:

         •    “[W]e have a large pipeline of . . . planned launches”. (Twin ¶ 161 (emphasis added);
              Manikay ¶ 160.)

         •    “[W]e should now expect to receive approvals for other filings”. (Twin ¶ 164
              (emphasis added); Manikay ¶ 163.)




    43
        See Gallagher, 269 F.3d at 810 (“Unless Abbott had a time machine, it could not have described ...
a letter that had yet to be written”); DiLeo, 901 F.2d at 628 (plaintiffs cannot rely on “fraud by
hindsight”).

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         •   “[I]t’s hard to project and predict the timing of the approvals, but knowing in terms
             of the feedback that we received from the FDA on our filings and the type of
             questions and queries that we’re receiving, we feel very comfortable that we can get
             through getting our products approved this year more than ever”. (Ex. 8, 2016 Q4
             Earnings Tr. at 10 (emphases added); see Twin ¶ 164; Manikay ¶ 163.)

These statements fall squarely into the PSLRA’s definition of forward-looking statements. 44

Moreover, they were identified as forward-looking, 45 and accompanied by meaningful

cautionary language. 46 Finally, even had there not been cautionary language, the alleged

statements would still be protected because Plaintiffs have failed adequately to allege that the

“speaker had no reasonable basis for the [statements] when made”. Anderson, 140 F. Supp. 2d at

904. 47 Plaintiffs have alleged no prior indication by FDA that Akorn should expect any delays in

product approvals. See Gallagher, 269 F.3d at 807, 810.

         Finally, many of the alleged statements are puffery. For example, statements about “our

deep ANDA pipeline” (Twin ¶ 161; Manikay ¶ 160); “[a] large pipeline of pending ANDAs”



    44
        See 15 U.S.C. § 78u-5; Anderson, 140 F. Supp. 2d at 906 (finding statements concerning “[the]
state of our new product cycle” and the issuer’s “full[]” pipeline to be protected forward-looking
statements).
    45
       Ex. 9, Akorn Investor Presentation, J.P. Morgan Healthcare Conf. at 2 (Jan. 9, 2017) (noting
forward-looking statements that use words such as “expect”, “plan” and “project”); Ex. 10, J.P. Morgan
Healthcare Conf. Tr. at 2 (Jan. 9, 2017) (referring audience to disclaimer). Ex. 8, Akorn 2016 Q4
Earnings Tr. at 4 (identifying statements as forward-looking and referring to Akorn Q4 Press Release
containing detailed disclaimers); see Ex. 11, March 1, 2017 8-K, ex. 99.1 at 4.
    46
       Ex. 9, Akorn Investor Presentation, J.P. Morgan Healthcare Conf. at 2 (Jan. 9, 2017) (warning
statements regarding Akorn’s ANDA pipeline were subject to enumerated risks and uncertainties); Ex. 8,
2016 Q4 Earnings Tr. at 10 (“[I]t’s hard to project and predict the timing of the approvals.”); Ex. 11,
March 1, 2017 8-K, ex. 99.1 at 4 (warning actual results may differ materially because of “the difficulty
of predicting the timing or outcome of product development efforts”); Ex. 12, 2015 Form 10-K (“FDA
approval ... is never certain. Our new products could take a significantly longer time than we expect to
gain regulatory approval and may never gain approval.”); see Stavros, 266 F. Supp. 2d at 844
(considering cautionary language in both the forward-looking statements and in SEC filings).
    47
        See also Vallabhaneni v. Endocyte, Inc., 2016 WL 51260, at *16 (S.D. Ind. Jan. 4, 2016)
(“[Officers and directors are] ‘not required to take a gloomy, fearful or defeatist view of the future’ but
[are] instead ‘expected to be confident about their stewardship and the prospects of the business that they
manage.’”).

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(Twin ¶ 162; Manikay ¶ 161); and “getting ... products approved this year more than ever” (Twin

¶ 164; Manikay ¶ 163) are clearly puffery. 48

          D.      Akorn’s Contractual Commitment to Operate in the Ordinary Course

          Section 5.01 of the Merger Agreement (which was filed with the SEC on Form 8-K)

contained a customary “ordinary course” covenant providing that “[Akorn] shall ... use its ...

commercially reasonable efforts to carry on its business in all material respects in the ordinary

course of business” between signing and closing. 49 Plaintiffs allege that this contractual

covenant was misleading because “Akorn did not operate its business in the ordinary course in

all material respects after the Merger Agreement was signed”. (Twin ¶ 167; Manikay ¶ 166.)

          This allegation fails because Akorn’s Ordinary Course Covenant was not a “statement of

a material fact” within the meaning of Rule 10b-5. See 17 C.F.R. § 240.10b-5(b). It was a

contractual promise of future performance, which “typically does not constitute a

misrepresentation that will support an action for fraud”. Reese v. BP Exploration (Alaska) Inc.,

643 F.3d 681, 694 (9th Cir. 2011); see also IDT Corp. v. eGlobe, Inc., 140 F. Supp. 2d 30, 35

(D.D.C. 2001) (same). Only where the promisor “intended not to perform or knew that he could

not perform” at the time the promise was made, will a breach of contract support a Section 10(b)

claim. See Mills v. Polar Molecular Corp., 12 F.3d 1170, 1176 (2d Cir. 1993). Plaintiffs offer

no such allegations. They assert only that Akorn breached its covenant at some later date.

Moreover, Akorn warned investors that a failure of the Merger’s closing conditions—including

breaches of covenants—was a risk. (Twin ¶ 168; Manikay ¶ 167.)


     48
         See Walgreen, 2010 WL 3894149, at *4 (finding inactionable “loosely optimistic statements that
are ... vague [and] ... lacking in specificity”); Anderson, 140 F. Supp. 2d at 906 (dismissing as puffery the
statement “[w]e expect this [growth] to continue ... due to the unprecedented state of our new product
cycle.... [Our] diagnostic pipeline is fuller than ever before”).
     49
          Ex. 4, Merger Agreement § 5.01.

                                                     25
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           E.      Statements Concerning the Data Integrity Investigations

           Plaintiffs challenge statements in two February 2018 press releases about Akorn’s data

integrity investigation. (Twin ¶¶ 168-71; Manikay ¶¶ 167-70.)

           The challenged statements are forward-looking:

           •    “To date, the Company’s investigation has not found any facts that would result in a
                material impact on Akorn’s operations and the Company does not believe this
                investigation should affect the closing of the transaction with Fresenius.” (Twin
                ¶ 169 (first emphasis added); Manikay ¶ 168.)

           •    “The ... investigation ... has not found any facts that would result in a material adverse
                effect on Akorn’s business”. (Twin ¶ 170 (emphasis modified); Manikay ¶ 169.)

           •    “We intend to vigorously enforce our rights, and Fresenius’ obligations, under our
                binding merger agreement.” (Twin ¶ 170 (emphasis added); Manikay ¶ 169.)

These statements make predictions about the future impact Akorn’s findings would have on its

operations and the planned Merger. They are protected because Defendants expressly identified

their assessment of the investigative findings as “forward-looking” and informed shareholders

that the actual results could differ materially from such assessment:

           “This communication contains forward-looking statements .... Readers can
           identify these statements by forward-looking words such as ‘may,’ ‘could,’
           ‘should,’ ‘would,’ ‘intend,’ ‘will,’ ‘expect,’ ‘anticipate,’ ‘believe,’ ‘estimate,’
           ‘continue’ or similar words. A number of important factors could cause actual
           results of the Company and its subsidiaries to differ materially from those
           indicated by such forward-looking statements. These factors include, but are not
           limited to, ... (vii) the outcome of the above described investigation and any
           actions taken by the Company, third parties or the FDA as a result of such
           investigation ....” 50

Additionally, “the risks were abundantly apparent on the statement’s face”, particularly in light

of Fresenius’s contemporaneous press release. See Anderson, 140 F. Supp. 2d at 907. 51


     50
          Ex. 13, February 27, 2018 8-K, ex. 99.1 (emphasis added).
     51
        See also Société Générale Sec. Serv., GbmH v. Caterpillar, Inc., 2018 WL 4616356, at *5 (N.D.
Ill. Sept. 26, 2018) (“In this context, a reasonable investor is not likely to find the statements misleading
unless they ignore these disclosures.”).

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          Furthermore, Akorn was not required to confess or accuse itself publicly of

wrongdoing—which it would vigorously contest in the ensuing litigation with Fresenius.

“[M]aintenance of ... innocence is not fraud” and “SEC rules do not create a duty to confess

contested charges”. Anderson, 140 F. Supp. 2d at 906-07. “Where there exists a good faith

dispute as to facts or an alleged legal violation, the [law] only requires disclosure of the dispute”

because “[i]nvestors can evaluate this sort of posturing for what it is worth”. Id.

          Moreover, the challenged statements are opinions. For example:

          •   “[T]he Company does not believe this investigation should affect the closing of the
              transaction with Fresenius”. (Twin ¶ 131 (emphasis modified); Manikay ¶ 130.)

          •   “We categorically disagree with Fresenius’ accusations.” (Twin ¶ 134 (emphasis
              added); Manikay ¶ 133.)

Plaintiffs have not alleged facts suggesting Akorn’s stated belief to have been insincere. See

Omnicare, 135 S. Ct. at 1327. By definition, the representations and warranties at issue were not

false unless an MAE had occurred 52—a finding no Delaware court had ever made. 53 Plaintiffs

have alleged no facts suggesting that in February 2018 Akorn subjectively believed its regulatory

status had given rise to the first MAE in Delaware history. “What [Plaintiffs are] really asking is

that [Defendants] be required to admit liability for uncharged, unadjudicated claims while [an]

investigation into [their] ... position [is] ongoing. That sort of confession of guilt is not

required.” Caterpillar, 2018 WL 4616356, at *5.


     52
          Ex. 4, Merger Agreement § 3.18.
     53
       Notably, six months after the February 2018 press releases, after months of extensive discovery, a
week-long trial with thousands of trial exhibits, hundreds of pages of briefing and post-trial argument, the
Chancery Court told the parties that it “d[id not] view this as an easy case.... [N]obody should think that
they have a clean winner here, by any means”. Ex. 14, Hr’g Tr. 199:14-200:20 (Aug. 23, 2018). This
Court may take judicial notice of publicly available transcripts from related trials. Ojo v. Luong, 2016
WL 1337274, at *4 (D.N.J. Apr. 5, 2016); Robinson v. Purcell Const. Corp., 2015 WL 5603022, at *7
(N.D.N.Y. Sept. 22, 2015); Pelosi v. Spota, 607 F. Supp. 2d 366, 371 (E.D.N.Y. 2009); see also Twin
¶¶ 140, 216; Manikay ¶ 139.

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         Finally, Defendants’ opinions did not omit information “whose omission ma[de] ... the

statement[s] ... misleading”. See Omnicare, 135 S. Ct. at 1332. Plaintiffs’ allegations to the

contrary rely on developments that had not occurred at the time these statements were made.

Plaintiffs fail to plead any facts suggesting that, as of February 26, 2018: (i) FDA had already

taken adverse action against Akorn (it had not); (ii) Akorn’s quality consultant, NSF

International, had already started its investigation (it had not), 54 or (iii) Akorn had knowledge of

Fresenius’s investigative findings (it did not). Even as late as April 23, 2018, the only thing

Plaintiffs allege to have changed is that NSF International had begun work. (Twin ¶ 124;

Manikay ¶ 123.) A plaintiff cannot plead “fraud by hindsight”. See DiLeo, 901 F.2d at 628.

         F.     Statements Concerning Akorn’s Disclosure Controls

         Plaintiffs allege that “Akorn did not have effective disclosure controls and procedures”

and that it falsely certified the strength of its internal controls. (Twin ¶¶ 172-81; Manikay

¶¶ 171-79.) This claim fails for two reasons.

         First, Plaintiffs have failed to explain why the challenged statements were false. They

offer no particularized allegations concerning Akorn’s system of internal controls, other than to

argue, in essence, that they “must have been inadequate because they failed to ensure” that

Akorn reported alleged FDA noncompliance. See Rex & Roberta Ling Living Tr. v. B Commc’ns

Ltd., 346 F. Supp. 3d 389, 405 (S.D.N.Y. 2018). Such “conclusory assertions without any

factual support” are insufficient to make out a disclosure controls claim. See In re Gentiva Sec.

Litig., 932 F. Supp. 2d 352, 371 (E.D.N.Y. 2013) (internal quotation marks omitted). The

Complaints do not describe Akorn’s internal controls, “let alone [] identify why that system was



    54
        Twin ¶ 124 (“In March 2018, Akorn hired NSF International (‘NSF’) to conduct an investigation
of its data-integrity failures.”); Manikay ¶ 123.

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inadequate”. See B Commc’ns, 346 F. Supp. 3d at 405; Gentiva, 932 F. Supp. 2d at 371.

           Second, Plaintiffs’ theory assumes a reasonable investor would misinterpret the existence

of internal controls to detect accounting and bookkeeping improprieties as a guarantee of FDA

compliance. To the contrary, accounting and FDA compliance are obviously different functions,

employing different people with different expertise. See In re Braskem S.A. Sec. Litig., 246 F.

Supp. 3d 731, 758 (S.D.N.Y. 2017); Gentiva, 932 F. Supp. 2d at 371 (“Plaintiff does not even

challenge the Defendants’ accounting in any of the SEC filings”).

II.        PLAINTIFFS’ EXCHANGE ACT AND COMMON LAW FRAUD CLAIMS FAIL
           BECAUSE PLAINTIFFS DO NOT PLEAD LOSS CAUSATION.

           To survive a motion to dismiss, Plaintiffs must “allege that it was the very facts about

which the defendant lied which caused its injuries”. Tricontinental Indus., Ltd. v.

PricewaterhouseCoopers, LLP, 475 F.3d 824, 842 (7th Cir. 2007) (internal quotation marks

omitted). 55 “[T]he complaint must ‘“specify” each misleading statement’ ... and that there must

be ‘a causal connection between the material misrepresentation and the loss.’” Id. (quoting Dura

Pharms., Inc. v. Broudo, 544 U.S. 336, 345 (2005)). Here, Plaintiffs have failed to, and cannot,

plead facts showing that their losses are attributable to the allegedly false statements, and not the

failure of the Merger—which the Chancery Court found independently caused by a Financial

MAE. Put differently, the Financial MAE means the Merger would have failed—and Plaintiffs




      55
        See Lentell v. Merrill Lynch & Co., 396 F.3d 161, 177 (2d Cir. 2005) (Plaintiffs must “allege[]
facts sufficient to support an inference that it was ... fraud—rather than other salient factors—that
proximately caused [their] losses”); Teachers’ Ret. Sys. of La. v. Hunter, 477 F.3d 162, 186 (4th
Cir. 2007) (stating that loss causation must be pleaded “with sufficient specificity to enable the court to
evaluate whether the necessary causal link exists”); see also Tricontinental, 475 F.3d at 844 (“[L]oss
causation [is an] element[] of fraud under Illinois law”).

                                                     29
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would have incurred their losses—irrespective of the allegedly false statements. 56

           Almost immediately after the Merger was announced, and throughout the relevant period,

Akorn experienced a steep decline in financial performance having nothing to do with any

alleged data integrity issues. 57 As the Chancery Court found in adopting the findings of

Fresenius’s expert, “Akorn not only vastly underperform[ed] the median and the mean of

comparable firms, but it underperform[ed] every single one of the comparable firms on all time

periods, on all metrics, which is really dramatic underperformance”. 58

           Without the prospect of the Merger, these poor results would have caused a sharp drop in

Akorn’s share price. But while Fresenius’s contractual commitment to acquire Akorn for $34

per share was unthreatened, Akorn’s share price was stable. For nearly 10 months, Akorn’s

share price stayed constant at over $30 per share—just under the agreed acquisition price.

           Beginning on February 26, 2018, however, a series of events transpired signaling an

increased risk that the deal might fail. While Plaintiffs attempt to characterize these as

“corrective disclosures” related to FDA compliance, each of the 2018 disclosures on its face

communicated a risk that the promised $34 per share was becoming more unlikely: 59



     56
       Ray v. Citigroup Global Markets, Inc., 482 F.3d 991, 995 (7th Cir. 2007) (requiring allegations
that “but for the circumstances that the fraud concealed, the investment would not have lost its value”
(internal punctuation omitted)).
     57
       Fresenius, 2018 WL 4719347, at *58 (“The primary driver of Akorn’s dismal performance was
unexpected new market entrants who competed with Akorn’s three top products—ephedrine, clobetasol,
and lidocaine. Akorn also unexpectedly lost a key contract to sell progesterone.”).
     58
          Id. at *59 (internal quotation marks omitted).
     59
       Twin also alleges that a corrective disclosure occurred on January 9, 2019, when Akorn announced
to the market that it had received a warning letter, purportedly causing its share price to fall from $3.94 to
$3.48. (Twin ¶ 218.) But again this is without merit. Akorn’s common stock traded above the pre-
disclosure price just weeks later on January 24, 2019. This undercuts any inference of loss causation and
demonstrates that these alleged regulatory issues were not a significant driver of Akorn’s share price and
cannot plausibly account for the deterioration in Akorn’s stock price over the relevant period. See In re
Immucor, Inc. Sec. Litig., 2011 WL 3844221, at *2 (N.D. Ga. Aug. 29, 2011) (“Plaintiff failed to
                                                       30
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     Date                  Alleged Corrective Disclosure                   Alleged Stock Impact
 February 26, “‘Fresenius is conducting an independent                   “Akorn’s stock price fell to
 2018         investigation, using external experts, into alleged        $18.65 per share, down
              breaches of FDA data integrity requirements                38.4% from the previous
              relating to product development at Akorn, Inc. The         day’s closing price of
              Management and Supervisory Boards of Fresenius             $30.28 per share.” (Twin
              will assess the findings of that investigation. The        ¶ 209; Manikay ¶ 207.)
              consummation of the transaction may be affected if
              the closing conditions under the merger agreement
              are not met.’” (Twin ¶ 208 (emphasis added);
              Manikay ¶ 206.)
 April 22,      “‘Fresenius has decided today to terminate the           “Akorn’s stock price
 2018           company’s merger agreement with Akorn, due to            closed at $13.05 per share,
                Akorn’s failure to fulfill several closing conditions.   down 33.8% from the
                Fresenius’ decision is based on, among other             previous trading day’s
                factors, material breaches of FDA data integrity         closing price of $19.70 per
                requirements relating to Akorn’s operations found        share.” (Twin ¶ 212;
                during Fresenius’ independent investigation.’”           Manikay ¶ 210.)
                (Twin ¶ 211 (emphasis added); Manikay ¶ 209.)
 May 2, 2018 “Reuters released an article summarizing the                “On May 2, 2018,
             contents of Fresenius’s previously sealed court             [Akorn’s stock price]
             filings.” (Twin ¶ 215; Manikay ¶ 213.)                      declined by 15%, closing
                                                                         at a price of $12.55 per
                                                                         share.” (Twin ¶ 215;
                                                                         Manikay ¶ 213.)
 August 23,     “On August 23, 2018, Vice Chancellor Laster held         “Akorn’s common stock
 2018           post-trial oral argument. During the argument, the       decreased in price $3.18
                Vice Chancellor asked questions that led observers       per share, or 17.56%, from
                to believe and publicly report that things were not      the prior day’s closing
                going well for Akorn.” (Twin ¶ 216.)                     price.” (Twin ¶ 216.)
 October 1,     “On October 1, 2018, Vice Chancellor Laster              “[O]n the prior trading day,
 2018           issued his post-trial decision. The court found that     September 28, 2018,
                Fresenius had validly terminated the Merger              Akorn common stock
                Agreement because Akorn violated its compliance          closed at a price of $12.98.
                representations and its covenant to continue to          By the close of trading on
                conduct its business in the ordinary course during       October 1, 2018, the stock
                the pendency of the merger.” (Twin ¶ 217.)               price closed at $5.36 per
                                                                         share (down 58.71%).”
                                                                         (Twin ¶ 217.)



adequately plead economic loss and loss causation because Immucor’s share price quickly rebounded to
pre-disclosure levels after each of the FDA-related disclosures.”).

                                                 31
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Crucially, Plaintiffs’ reference to the October 1, 2018 opinion of the Chancery Court omits its

third independent ground for authorizing Fresenius’s termination: “Because Akorn suffered a

General [i.e., Financial] MAE, the [closing] condition in Section 6.02(c) has not been met, and

Fresenius cannot be forced to close.” Fresenius, 2018 WL 4719347, at *62.

          In light of the lost Merger—which was independently caused by a Financial MAE having

nothing to do with data integrity—Plaintiffs’ conclusory allegations that Defendants’ alleged

misstatements caused the evaporation of nearly 90% of Akorn’s market value are insufficient

under the heightened pleading standard. 60 Plaintiffs bet on a merger, not on the future of a

standalone company; they purchased Akorn securities only after news of the Merger leaked into

the market. (See Twin Exs. A-C; Manikay Exs. A-B.) They understood fully—as they stated in

filings with the SEC—that “[m]erger arbitrage transactions are inherently volatile” and “[i]f the

proposed transaction is not consummated ... the value of such securities purchased may decline

significantly”. 61 That is precisely what happened here, for reasons having nothing to do with

Akorn’s regulatory status. The Financial MAE was indisputably an independent basis for the

Chancery Court’s holding, meaning the Merger would have failed regardless of Akorn’s

regulatory status. 62 Imposing liability would make Defendants the insurer of losses that

Plaintiffs would have sustained regardless of the fraud that they allege on what Plaintiffs knew

to be a highly risky investment—an investment on which Plaintiffs repeatedly doubled down


    60
        See Hunter, 477 F.3d at 187-88 (dismissing for failure to plead loss causation where decline “more
logically occurred” because of a contemporaneous lawsuit which “portended a period of instability and
discord that could disrupt the corporation’s operations”); City of Austin Police Ret. Sys. v. ITT Educ.
Servs., Inc., 388 F. Supp. 2d 932, 942 (S.D. Ind. 2005) (stating that the revelation of an investigation,
without more, shows only “that a company’s share price can drop suddenly without any evidence or
finding of wrongdoing”).
    61
         Ex. 1, Twin Brochure at 12; see also Ex. 2, Manikay Brochure at 11.
    62
         Akorn, Inc. v. Fresenius Kabi AG, 198 A.3d 724 (Del. 2018) (table).

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with full knowledge that it was growing much riskier.

       The securities laws do not protect Plaintiffs from investment losses on speculative bets

that fail. See Koplin v. Labe Fed. Sav. & Loan Assoc., 748 F. Supp. 1336, 1340 (N.D. Ill. 1990)

(denying a claim for lost profits based on “pure speculation”). Plaintiffs’ claims fail because

they do not and cannot show, as they must, that their investments “would not have lost [their]

value” but for Defendants’ alleged misstatements concerning data integrity. See Ray, 482 F.3d at

995. To the contrary, it is crystal clear that the Akorn securities Plaintiffs purchased would have

lost their value regardless of those alleged misstatements, because of Akorn’s Financial MAE.

III.   PLAINTIFFS’ SECTION 18(a) CLAIMS ARE UNTIMELY AND FAIL
       ADEQUATELY TO ALLEGE ACTUAL RELIANCE.

       Plaintiffs’ Section 18(a) claims must be dismissed for the additional reasons that they are

untimely and they fail adequately to plead actual reliance.

       A.      Plaintiffs’ Section 18(a) Claims Are Untimely.

       A Section 18(a) claim must be “brought within one year after the discovery of the facts

constituting the cause of action”. 15 U.S.C. § 78r(c). The Seventh Circuit has not yet

determined when the Section 18(a) limitations period begins to run—either on “inquiry notice”,

Beezley v. Fenix Parts, Inc., 2018 WL 3156805, at *3-4 (N.D. Ill. June 26, 2018), or when a

“reasonably diligent plaintiff would have known” of their cause of action, Merck & Co. v.

Reynolds, 559 U.S. 633, 644 (2010). But it does not matter which standard applies because by

May 2, 2018, more than one year before either complaint was filed, (1) three of the alleged

corrective disclosures had occurred (Twin ¶¶ 208, 211, 215; Manikay ¶¶ 206, 209, 213),

(2) Fresenius had publicly accused Akorn of fraud stemming from FDA non-compliance in a

detailed counterclaim, (3) Akorn’s share price had declined by more than 50%, and (4) the

related class action complaint had been filed, establishing that a diligent plaintiff did know of its


                                                 33
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cause of action. 63 This is a sufficient “constellation of facts” to satisfy either standard. 64

          Plaintiffs’ Section 18(a) claims are untimely because both Complaints were filed more

than one year after May 2, 2018, and the alleged misstatements or omissions occurred before that

date (with one immaterial exception). By waiting over a year after being placed on notice of

their claims, Plaintiffs’ allegations concerning statements made on or before May 2, 2018 are

time barred. 65 As a result, Plaintiffs have “pleaded [themselves] out of court”. Levenfeld v.

Boyd, 2003 WL 22532801, at *6 (N.D. Ill. Nov. 6, 2003); Montanez v. Wolfenberger, 2013 WL

12120058, at *2 (N.D. Ill. Oct. 1, 2013) (“‘Where it is evident from the face of the complaint ... a

court can decide as a matter of law whether plaintiff discovered or should have discovered the

cause of action outside the limitations period.’” (citation omitted)).

          B.     Plaintiffs Fail Adequately To Plead Actual Reliance.

          Section 18(a) requires that Plaintiffs allege “actual reliance”—i.e., that they actually read

and relied on the filed document. In re Bear Stearns Cos. Sec., Deriv. & ERISA Litig, 995 F.

Supp. 2d 291, 308-09 (S.D.N.Y. 2014). The mere allegation that Plaintiffs read and relied on the

misstatements at some time prior to purchasing securities is not sufficient to plead actual

reliance. Plaintiffs must also identify both (i) “particular transaction[s]” made in reliance on the

alleged misstatements, which is not satisfied by general references to all purchases, Bear Stearns,


     63
       See Class Action Complaint, In re Akorn, Inc. Data Integrity Sec. Litig., No. 18-cv-01713, ECF
No. 1 (N.D. Ill. March 8, 2018).
     64
       In re Magnum Hunter Res. Corp. Sec. Litig., 26 F. Supp. 3d 278, 300-01 (S.D.N.Y. 2014); see also
421-A Tenants Assoc. Inc. v. 125 Court Street LLC, 2017 WL 6612933, at *5 (E.D.N.Y. Nov. 2, 2017)
(lower inquiry notice standard was satisfied because “the filing of a substantially similar action against
the same defendants is evidence that a ‘reasonably diligent plaintiff would have discovered the facts
constituting the violation’”).
     65
       Plaintiffs’ Section 18(a) claim was not tolled by the filing of the related class action litigation
before this Court because the class action complaint did not allege a Section 18(a) claim. See In re
Copper Antitrust Litig., 436 F.3d 782, 794 (7th Cir. 2006); Johnson v. Railway Exp. Agency, Inc., 421
U.S. 454, 467 (1975).

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995 F. Supp. 2d at 309; Special Situations Fund III QP, 33 F. Supp. 3d at 444; and (ii) a “causal

nexus between th[ose transactions] ... and [the challenged] statements” demonstrating that those

statements caused Plaintiffs to make each purchase, Witriol v. Conexant Sys., Inc., 2006 WL

3511155, at *7 (D.N.J. Dec. 4, 2006); Bear Stearns, 995 F. Supp. 2d at 309. 66

           “[Plaintiff] alleges that it ‘read’ and ‘relied’ on the alleged misrepresentations in
           the 2006 10-K ‘in deciding whether it should purchase [Defendant] securities,’
           which it admits occurred over a year-long period from March 2007 through
           March 2008. [Plaintiff] does not link its review of any particular statement in that
           document or any other document to any actual purchases of [Defendant] securities
           and does not identify a particular transaction it allegedly made in reliance on the
           document or any other document. [Plaintiff’s] generic response that ‘every ...
           [purchase] was in reliance on the specific misrepresentations and omissions
           identified in the Complaint,’ is not sufficiently particularized.” Bear Stearns, 995
           F. Supp. 2d at 309 (internal citations omitted).

           Plaintiffs do not satisfy this requirement. They make the generic allegation that “each

purchase and acquisition” was motived by the alleged misstatements. (Twin ¶ 204; Manikay

¶ 202.) But that is too “general” and “insufficiently particularized” to satisfy the applicable

pleading requirements. Bear Stearns, 995 F. Supp. 2d at 309; Special Situations Fund III QP, 33

F. Supp. 3d at 444. As a result, Plaintiffs’ Section 18(a) claims must be dismissed.

IV.        PLAINTIFFS DO NOT STATE A SECTION 20(a) CLAIM.

           Because there is no primary violation of any securities laws, there can be no “control

person” liability under Section 20(a). Pugh, 521 F.3d at 693; DH2, Inc. v. Athanassiades, 359 F.

Supp. 2d 708, 719-20 (N.D. Ill. 2005).

                                            CONCLUSION

                  For the foregoing reasons, the Complaints should be dismissed in their entirety,

with prejudice, for failure to state a claim.



      66
       See also Granite Partners, L.P. v. Bear, Stearns & Co., 58 F. Supp. 2d 228, 259 (S.D.N.Y. 1999)
(“[Plaintiffs] are better positioned than anyone else to know what their actual reliance was.”).

                                                    35
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                              Respectfully submitted,

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Date: September 13, 2019
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                                     Certificate of Service

              The undersigned attorney hereby certifies that he caused a copy of the attached

Defendants’ Memorandum of Law In Support of Their Joint Motions to Dismiss the Twin

Master Fund and Manikay Master Fund Complaints Pursuant to Fed. R. Civ. P. 12(b)(6)

& 9(b) and 15 U.S.C. § 78u-4 to be electronically filed with the Clerk of the Court on

September 13, 2019. Notice of this filing will be served upon counsel of record via Electronic

Notification by the District Court’s ECF Filing System.



                                             /s/ Robert H. Baron
                                                  Robert H. Baron (admitted pro hac vice)
